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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF GEORGIA
                                        MACON DIVISION

SCOTT WASHINGTON,

                    Plaintiff,
v.                                                    Case No. 5:22-cv-00457-MTT

GOVERNMENT EMPLOYEES
INSURANCE CO.,

                    Defendant.
                                              /

                    LOCAL RULE 83.1.2(C) LOCAL COUNSEL DESIGNATION

          I, Reed L. Russell, appear pursuant to Rule 83.1.2(C), Local Rules for the United States

District Court for the Middle District of Georgia, in the referenced action on behalf of Defendant

Government Employees Insurance Co.

          I certify that I am associated with the law firm of Phelps Dunbar LLP and am a member in

good standing of the United States District Court for the Middle District of Florida. Attached

hereto is an order entered on February 28, 2023, granting Reed L. Russell’s Petition for

Admission to Plead and Practice Pro Hac Vice, which contains a copy of a certificate of good

standing from the United States District Court for the Middle District of Florida. I am not a

resident of the State of Georgia, and I do not maintain an office in Georgia for the practice of law.

          I designate:

NAME:                                             Christy M. Maple
                                                  Georgia Bar No. 240807

LAW FIRM:                                         Phelps Dunbar LLP

ADDRESS:                                          4141 Parkland Avenue, Suite 530
                                                  Raleigh, North Carolina 27612
                                                  (T) (919) 789-5300; (F) (919) 789-5301
                                                  E-mail: christy.maple@phelps.com



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who is a member of the Bar of this Court and who (1) consents to this Local Rule 83.1.2(C)

designation, (2) is the attorney with whom the Court and opposing counsel may readily

communicate regarding the conduct of this case, and (3) is the attorney upon whom all notices

and papers may be served.

                                    CONSENT OF DESIGNEE

          I consent to the foregoing designation.

                                        /s/ Christy M. Maple
                                        Christy M. Maple

Date: October 25, 2023.
                                        Respectfully submitted,

                                        /s/ Reed L. Russell
                                        Reed L. Russell (admitted pro hac vice)
                                          (Lead Counsel); Florida Bar No. 0184860
                                        Austin A. Laurienzo (admitted pro hac vice)
                                           Florida Bar No. 1011546
                                        PHELPS DUNBAR LLP
                                        100 South Ashley Drive, Suite 2000
                                        Tampa, Florida 33602-5315
                                        Telephone: (813) 472-7550
                                        Facsimile: (813) 472-7570
                                        Emails: reed.russell@phelps.com
                                                 austin.laurienzo@phelps.com
                                        and

                                        /s/ Christy M. Maple
                                        Christy M. Maple
                                          Georgia Bar No. 240807
                                        PHELPS DUNBAR LLP
                                        4141 Parkland Avenue, Suite 530
                                        Raleigh, North Carolina 27612
                                        Telephone: (919) 789-5300
                                        Facsimile: (919) 789-5301
                                        E-mail: christy.maple@phelps.com

                                        Attorneys for Defendant




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                                  CERTIFICATE OF SERVICE

          I CERTIFY that I electronically filed the foregoing with the Clerk of the Court this 25th

day of October, 2023, via the CM/ECF system which will provide a copy to all counsel of

record.

                                               /s/ Reed L. Russell
                                               Attorney




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               EXHIBIT
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             Reed L. Russell
        Florida                                  184860




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  Reed L. Russell




   February 27, 2023



                                          Phelps Dunbar, LLP, 100 S. Ashley Dr., Ste. 2000


                               0          Tampa, Florida 33602 - Telephone: (813) 472-7550


                                           reed.russell@phelps.com




    02/28/2023                             s/ David W. Bunt
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AO 136 (Rev. 10/13) Certificate of Good Standing




                      UNITED STATES DISTRICT COURT
                                                   for the
                                       Middle District of Florida


                             CERTIFICATE OF GOOD STANDING


         I, Elizabeth M. Warren, Clerk of this Court, do hereby certify that Reed

Russell, Florida Bar # 0184860, was duly admitted to practice in this Court on

October 14, 2010, and is in good standing as a member of the Bar of this Court.

         Dated at: Orlando, Florida on February 14, 2023.




                                                              Elizabeth M. Warren

                                                                    Clerk of Court
